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 4
     Attorney for Defendant
 5   HONG BI ZENG
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 7
 8                              UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
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11                                          )
     UNITED STATES OF AMERICA,              )                  Criminal No. 2:06-cr-0390 EJG
12                                          )
                Plaintiff,                  )                  STIPULATION AND ORDER
13                                          )                  TO CONTINUE MARCH 7, 2008
           v.                               )                  SENTENCING HEARING
14                                          )
     HONG ZENG,                             )                  AS MODIFIED*
15                                          )
                                            )
16                                          )
                Defendants.                 )
17   _______________________________________)
18
              IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
19
     Robert M. Twiss, counsel for the plaintiff, John M. Runfola, counsel for HONG ZENG, and
20
     Linda Dillon, United States Probation Officer, that the sentencing hearing now scheduled for
21
     March 7, 2008 at *10:00 a.m.., is extended until April 25, 2008 at *10:00 a.m., or as soon
22
     thereafter as is convenient for the Court. This continuance is sought because additional time
23
     is needed by the defense and prosecution to address sentencing issues.
24
              No party objects to the requested continuance.
25
                    IT IS SO STIPULATED.
26
27   Dated:         03/ 04/2008                        ________/s/_______________
                                                       ROBERT M. TWISS
28                                                     Counsel for Plaintiff
      Case 2:06-cr-00390-WBS Document 107 Filed 03/06/08 Page 2 of 2


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 2
     Dated:       03/04 /2008                  _________/s/ ______________
 3                                             JOHN M. RUNFOLA
                                               Attorney for HONG BI ZENG
 4
 5
     Dated: ______3/04/2008____                _________/s/_______________
 6                                             LINDA DILLON
                                               United States Probation Officer
 7
 8
 9
10
11                                     ORDER
12            IT IS SO ORDERED
13
     Dated:    March 5, 2008                   /s/ Edward J. Garcia
14                                             EDWARD J. GARCIA
                                               Senior United States District Court Judge
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     Stipulation and Order               -2-
